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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 15-22223-CIV-SIMONTON

 JUAN ANTONIO BROCQ TREMOLADA,

         Plaintiff,

 vs.

 NEWPORT UNIVERSAL GROUP CORP.,
 AND JAVIER CHOROSZCZ,

        Defendants.
 _______________________________/

                       ORDER APPROVING SETTLEMENT AGREEMENT
                         AND DISMISSING CASE WITH PREJUDICE

         This matter is before the Court upon the Joint Motion for Approval of Parties’

  Settlement and Dismissal with Prejudice, ECF No. [52]. Pursuant to the consent of the

  Parties, the Honorable Kathleen M. Williams, United States District Judge, has referred

  this matter to the undersigned Magistrate Judge for all further proceedings, including

  trial by jury and entry of final judgment, ECF No. [37].

         This action involves claims brought by Plaintiff Juan Antonio Brocq Tremolada

  against Defendants Newport Universal Group Corp., and Javier Choroszcz for alleged

  overtime violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. (“FLSA”),

  ECF No. [1]. The Parties have filed the instant Joint Motion requesting, inter alia, that the

  undersigned approve the Settlement Agreement, dismiss the action with prejudice and

  retain jurisdiction to enforce the Settlement Agreement, ECF No. [52]. The Parties have

  submitted the executed Settlement Agreement to the undersigned for review and

  requested that the Court retain jurisdiction of the limited purpose of enforcing the

  Parties’ Settlement Agreement and Mutual General Release.

         In reviewing a settlement of an FLSA private claim, a court must "scrutiniz[e] the

  settlement for fairness," and determine that the settlement is a "fair and reasonable
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  resolution of a bona fide dispute over FLSA provisions." Lynn’s Food Stores v. United

  States, 679 F.2d 1350, 1352-53 (11th Cir. 1982). A settlement entered into in an

  adversarial context where both sides are represented by counsel throughout litigation "is

  more likely to reflect a reasonable compromise of disputed issues." Id. The district court

  may approve the settlement in order to promote the policy of encouraging settlements of

  litigation. Id. at 1354.

         The undersigned has considered the terms of the written Settlement Agreement,

  as well as the pertinent portions of the record, and is otherwise fully advised in the

  premises. Based thereon, the undersigned finds that the settlement reached by the

  Parties is a fair and reasonable resolution of the Parties' bona fide dispute.

         Accordingly, it is hereby

         ORDERED AND ADJUDGED that the Joint Motion to Approve Parties’

  Settlement and Dismissal with Prejudice, ECF No. [59]. is GRANTED. It if further

         ORDERED AND ADJUDGED that the Settlement Agreement is APPROVED. It

  is further

         ORDERED AND ADJUDGED that, as requested by the Parties in the Motion, the

  Court shall retain jurisdiction over this matter to enforce the Parties’ Settlement

  Agreement and Mutual General Release until September 30, 2016. It is further

         ORDERED AND ADJUDGED that this action is DISMISSED with prejudice, the

  case is hereby CLOSED and all pending Motions are DENIED as MOOT.

         DONE AND ORDERED in chambers at Miami, Florida, on August 29, 2016.


                                             ________________________________
                                             ANDREA M. SIMONTON
                                             UNITED STATES MAGISTRATE JUDGE
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  Copies provided via CM/ECF to:

  All counsel of record




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